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                                                                                                 FILED
                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                       NEWPORT NEWS DIVISION                                         ;:6 P'-''

 JAMES EDWARD MOORE,                                                                     CLERK, U.S.UIblHlUi ouutti
                                                                                                 NORFOLK. VA

                 Plaintiff,
                                                                 Civil Action No: 4:17cvI44
         V.



 CURTISS-WRIGHT CORPORATION et al.

                 Defendants.




                                         ORDER OF DISMISSAL


         The parties have reported to the Court that this action has settled. In response, the Court
 directed the parties to file a status report by May 22, 2019 indicating whether the settlement had been
 consummated. See ECF No. 198 (granting the Joint Motion to Cancel Settlement Conference).
         When that status report was filed subsequently, and therein the parties requested additional
 time to complete their responsibilities, the Court provided thirty days for the parties to file a Stipulation
 of Dismissal, or to report upon the settlement progress if a Stipulation of Dismissal has not been filed
 by that date. In this directive, the parties were ordered explicitly to show cause why the Court should
 not enter a dismissal order, ifthe parties failed to do so. See ECF No. 200.
         After attempting to enter a partial stipulation, the parties have sought another extension to
 finalize closure of the case. See ECF No.202. Specifically, counsel represent that that they "mutually
 request that the case continue to be stayed" and that "that good cause exists due to the Parties awaiting
 settlement payment from the remaining Defendants in this case." Id. at 3.
         This Court concludes that good cause for further delaying the dismissal of this action has not
 been shown. Accordingly, this action is DISMISSED. This Court retains jurisdiction for the sole
 purpose of enforcing the parties' settlement, if necessary.
         IT IS SO ORDERED.




              Date                                               Afbnda-Wright Allen
                                                             United States District Judge
